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   TO PROTECTIVE ORDER


            EXHIBIT 6
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                                                  Terms of Service
       Terms of Service
                                                    What’s in these terms?
       Paid Service Terms of Service

       Paid Service Usage Rules                     This index is designed to help you understand some of the
                                                    key updates we’ve made to our Terms of Service (Terms).
       Collecting Society Notices
                                                    We hope this serves as a useful guide, but please ensure
       Copyright Notices                            you read the Terms in full.

       Community Guidelines
                                                    Welcome to YouTube!

                                                    This section outlines our relationship with you. It includes
                                                    a description of the Service, defines our Agreement, and
                                                    names your service provider.

                                                    Who May Use the Service?

                                                    This section sets out certain requirements for use of the
                                                    Service, and defines categories of users.

                                                    Your Use of the Service

                                                    This section explains your rights to use the Service, and
                                                    the conditions that apply to your use of the Service. It also
                                                    explains how we may make changes to the Service.


                                                    Your Content and Conduct

                                                    This section applies to users who provide Content to the
                                                    Service. It defines the scope of the permissions that you
                                                    grant by uploading your Content, and includes your
                                                    agreement not to upload anything that infringes on anyone
                                                    else’s rights.

                                                    Account Suspension and Termination

                                                    This section explains how you and YouTube may
                                                    terminate this relationship.


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                                                    About Software in the Service

                                                    This section includes details about software on the
                                                    Service.

                                                    Other Legal Terms

                                                    This section includes our service commitment to you. It
                                                    also explains that there are some things we will not be
                                                    responsible for.


                                                    About this Agreement

                                                    This section includes some further important details
                                                    about our contract, including what to expect if we need to
                                                    make changes to these Terms; or which law applies to
                                                    them.




                                                  Terms of Service
                                                  Dated: December 15, 2023


                                                  TERMS OF SERVICE

                                                  Welcome to YouTube!
                                                  Introduction
                                                  Thank you for using the YouTube platform and the products,
                                                  services and features we make available to you as part of the
                                                  platform (collectively, the “Service”).

                                                  Our Service

                                                  The Service allows you to discover, watch and share videos
                                                  and other content, provides a forum for people to connect,
                                                  inform, and inspire others across the globe, and acts as a
                                                  distribution platform for original content creators and
                                                  advertisers large and small. We provide lots of information
                                                  about our products and how to use them in our Help Center.

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                                                  Among other things, you can find out about YouTube Kids, the
                                                  YouTube Partner Program and YouTube Paid Memberships
                                                  and Purchases (where available).You can also read all about
                                                  enjoying content on other devices like your television, your
                                                  games console, or Google Home.


                                                  Your Service Provider

                                                  The entity providing the Service is Google LLC, a company
                                                  operating under the laws of Delaware, located at 1600
                                                  Amphitheatre Parkway, Mountain View, CA 94043 (referred to
                                                  as “YouTube”, “we”, “us”, or “our”). References to YouTube’s
                                                  “Affiliates” in these terms means the other companies within
                                                  the Alphabet Inc. corporate group (now or in the future).

                                                  Applicable Terms
                                                  Your use of the Service is subject to these terms, the YouTube
                                                  Community Guidelines and the Policy, Safety and Copyright
                                                  Policies which may be updated from time to time (together,
                                                  this "Agreement"). Your Agreement with us will also include
                                                  the Advertising on YouTube Policies if you provide advertising
                                                  or sponsorships to the Service or incorporate paid promotions
                                                  in your content. Any other links or references provided in
                                                  these terms are for informational use only and are not part of
                                                  the Agreement.

                                                  Please read this Agreement carefully and make sure you
                                                  understand it. If you do not understand the Agreement, or do
                                                  not accept any part of it, then you may not use the Service.


                                                  Who may use the Service?

                                                  Age Requirements
                                                  You must be at least 13 years old to use the Service; however,
                                                  children of all ages may use the Service and YouTube
                                                  Kids (where available) if enabled by a parent or legal guardian.


                                                  Permission by Parent or Guardian




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                                                  If you are under 18, you represent that you have your parent or
                                                  guardian’s permission to use the Service. Please have them
                                                  read this Agreement with you.

                                                  If you are a parent or legal guardian of a user under the age of
                                                  18, by allowing your child to use the Service, you are subject to
                                                  the terms of this Agreement and responsible for your child’s
                                                  activity on the Service. You can find tools and resources to
                                                  help you manage your family’s experience on YouTube
                                                  (including how to enable a child under the age of 13 to use the
                                                  Service and YouTube Kids) in our Help Center and through
                                                  Google’s Family Link.

                                                  Businesses
                                                  If you are using the Service on behalf of a company or
                                                  organisation, you represent that you have authority to act on
                                                  behalf of that entity, and that such entity accepts this
                                                  Agreement.


                                                  Your Use of the Service
                                                  Content on the Service
                                                  The content on the Service includes videos, audio (for
                                                  example music and other sounds), graphics, photos, text
                                                  (such as comments and scripts), branding (including trade
                                                  names, trademarks, service marks, or logos), interactive
                                                  features, software, metrics, and other materials whether
                                                  provided by you, YouTube or a third-party (collectively,
                                                  "Content”).

                                                  Content is the responsibility of the person or entity that
                                                  provides it to the Service. YouTube is under no obligation to
                                                  host or serve Content. If you see any Content you believe does
                                                  not comply with this Agreement, including by violating the
                                                  Community Guidelines or the law, you can report it to us.

                                                  Google Accounts and YouTube Channels
                                                  You can use parts of the Service, such as browsing and
                                                  searching for Content, without having a Google account.
                                                  However, you do need a Google account to use some

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                                                  features. With a Google account, you may be able to like
                                                  videos, subscribe to channels, create your own YouTube
                                                  channel, and more. You can follow these instructions to create
                                                  a Google account.

                                                  Creating a YouTube channel will give you access to additional
                                                  features and functions, such as uploading videos, making
                                                  comments or creating playlists (where available). Here are
                                                  some details about how to create your own YouTube channel.


                                                  To protect your Google account, keep your password
                                                  confidential. You should not reuse your Google account
                                                  password on third-party applications. Learn more about
                                                  keeping your Google account secure, including what to do if
                                                  you learn of any unauthorized use of your password or Google
                                                  account.

                                                  Your Information
                                                  Our Privacy Policy explains how we treat your personal data
                                                  and protect your privacy when you use the Service. The
                                                  YouTube Kids Privacy Notice provides additional information
                                                  about our privacy practices that are specific to YouTube Kids.

                                                  We will process any audio or audiovisual content uploaded by
                                                  you to the Service in accordance with the YouTube Data
                                                  Processing Terms, except in cases where you uploaded such
                                                  content for personal purposes or household activities. Learn
                                                  More.

                                                  Permissions and Restrictions
                                                  You may access and use the Service as made available to you,
                                                  as long as you comply with this Agreement and applicable
                                                  law. You may view or listen to Content for your personal, non-
                                                  commercial use. You may also show YouTube videos through
                                                  the embeddable YouTube player.

                                                  The following restrictions apply to your use of the Service.
                                                  You are not allowed to:




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                                                    1. access, reproduce, download, distribute, transmit,
                                                       broadcast, display, sell, license, alter, modify or otherwise
                                                      use any part of the Service or any Content except: (a) as
                                                      expressly authorized by the Service; or (b) with prior
                                                      written permission from YouTube and, if applicable, the
                                                      respective rights holders;

                                                    2. circumvent, disable, fraudulently engage with, or
                                                      otherwise interfere with any part of the Service (or
                                                      attempt to do any of these things), including security-
                                                      related features or features that (a) prevent or restrict the
                                                      copying or other use of Content or (b) limit the use of the
                                                      Service or Content;

                                                    3. access the Service using any automated means (such as
                                                      robots, botnets or scrapers) except (a) in the case of
                                                      public search engines, in accordance with YouTube’s
                                                      robots.txt file; or (b) with YouTube’s prior written
                                                      permission;

                                                    4. collect or harvest any information that might identify a
                                                      person (for example, usernames or faces), unless
                                                      permitted by that person or allowed under section (3)
                                                      above;

                                                    5. use the Service to distribute unsolicited promotional or
                                                      commercial content or other unwanted or mass
                                                      solicitations;

                                                    6. cause or encourage any inaccurate measurements of
                                                      genuine user engagement with the Service, including by
                                                      paying people or providing them with incentives to
                                                      increase a video’s views, likes, or dislikes, or to increase a
                                                      channel’s subscribers, or otherwise manipulate metrics in
                                                      any manner;

                                                    7. misuse any reporting, flagging, complaint, dispute, or
                                                       appeals process, including by making groundless,
                                                      vexatious, or frivolous submissions;

                                                    8. run contests on or through the Service that do not comply
                                                       with YouTube’s contest policies and guidelines;



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                                                    9. use the Service to view or listen to Content other than for
                                                       personal, non-commercial use (for example, you may not
                                                       publicly screen videos or stream music from the Service);
                                                       or

                                                   10. use the Service to (a) sell any advertising, sponsorships,
                                                       or promotions placed on, around, or within the Service or
                                                       Content, other than those allowed in the Advertising on
                                                      YouTube policies (such as compliant product
                                                      placements); or (b) sell advertising, sponsorships, or
                                                      promotions on any page of any website or application
                                                      that only contains Content from the Service or where
                                                      Content from the Service is the primary basis for such
                                                      sales (for example, selling ads on a webpage where
                                                      YouTube videos are the main draw for users visiting the
                                                      webpage).

                                                  Reservation


                                                  Using the Service does not give you ownership of or rights to
                                                  any aspect of the Service, including user names or any other
                                                  Content posted by others or YouTube.


                                                  Develop, Improve and Update the Service


                                                  YouTube is constantly changing and improving the Service. As
                                                  part of this continual evolution, we may make modifications or
                                                  changes (to all or part of the Service) such as adding or
                                                  removing features and functionalities, offering new digital
                                                  content or services or discontinuing old ones. We may also
                                                  need to alter or discontinue the Service, or any part of it, in
                                                  order to make performance or security improvements, make
                                                  changes to comply with law, or prevent illegal activities on or
                                                  abuse of our systems. These changes may affect all users,
                                                  some users or even an individual user. When the Service
                                                  requires or includes downloadable software (such as the
                                                  YouTube Studio application), that software may update
                                                  automatically on your device once a new version or feature is
                                                  available, subject to your device settings. If we make material
                                                  changes that negatively impact your use of the Service, we’ll
                                                  provide you with reasonable advance notice, except in urgent
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                                                  situations such as preventing abuse, responding to legal
                                                  requirements, or addressing security and operability issues.
                                                  We’ll also provide you with an opportunity to export your
                                                  content from your Google Account using Google Takeout,
                                                  subject to applicable law and policies.


                                                  Your Content and Conduct
                                                  Uploading Content


                                                  If you have a YouTube channel, you may be able to upload
                                                  Content to the Service. You may use your Content to promote
                                                  your business or artistic enterprise. If you choose to upload
                                                  Content, you must not submit to the Service any Content that
                                                  does not comply with this Agreement (including the YouTube
                                                  Community Guidelines) or the law. For example, the Content
                                                  you submit must not include third-party intellectual property
                                                  (such as copyrighted material) unless you have permission
                                                  from that party or are otherwise legally entitled to do so. You
                                                  are legally responsible for the Content you submit to the
                                                  Service. We may use automated systems that analyze your
                                                  Content to help detect infringement and abuse, such as spam,
                                                  malware, and illegal content.


                                                  Rights you Grant

                                                  You retain ownership rights in your Content. However, we do
                                                  require you to grant certain rights to YouTube and other users
                                                  of the Service, as described below.


                                                  License to YouTube

                                                  By providing Content to the Service, you grant to YouTube a
                                                  worldwide, non-exclusive, royalty-free, sublicensable and
                                                  transferable license to use that Content (including to
                                                  reproduce, distribute, prepare derivative works, display and
                                                  perform it) in connection with the Service and YouTube’s (and
                                                  its successors' and Affiliates') business, including for the
                                                  purpose of promoting and redistributing part or all of the
                                                  Service.

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                                                License to Other Users


                                                You also grant each other user of the Service a worldwide,
                                                non-exclusive, royalty-free license to access your Content
                                                through the Service, and to use that Content, including to
                                                reproduce, distribute, prepare derivative works, display, and
                                                perform it, only as enabled by a feature of the Service (such as
                                                video playback or embeds). For clarity, this license does not
                                                grant any rights or permissions for a user to make use of your
                                                Content independent of the Service.


                                                Duration of License

                                                The licenses granted by you continue for a commercially
                                                reasonable period of time after you remove or delete your
                                                Content from the Service. You understand and agree, however,
                                                that YouTube may retain, but not display, distribute, or
                                                perform, server copies of your videos that have been removed
                                                or deleted.


                                                Right to Monetize


                                                You grant to YouTube the right to monetize your Content on
                                                the Service (and such monetization may include displaying
                                                ads on or within Content or charging users a fee for access).
                                                This Agreement does not entitle you to any payments.
                                                Starting November 18, 2020, any payments you may be
                                                entitled to receive from YouTube under any other agreement
                                                between you and YouTube (including for example payments
                                                under the YouTube Partner Program, Channel memberships or
                                                Super Chat) will be treated as royalties. If required by law,
                                                Google will withhold taxes from such payments.


                                                Removing Your Content

                                                You may remove your Content from the Service at any time.
                                                You also have the option to make a copy of your Content
                                                before removing it. You must remove your Content if you no
                                                longer have the rights required by these terms.



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                                                Removal of Content By YouTube


                                                If any of your Content (1) is in breach of this Agreement or (2)
                                                may cause harm to YouTube, our users, or third parties, we
                                                reserve the right to remove or take down some or all of such
                                                Content in our discretion. We will notify you with the reason
                                                for our action unless we reasonably believe that to do so: (a)
                                                would breach the law or the direction of a legal enforcement
                                                authority or would otherwise risk legal liability for YouTube or
                                                our Affiliates; (b) would compromise an investigation or the
                                                integrity or operation of the Service; or (c) would cause harm
                                                to any user, other third party, YouTube or our Affiliates. You
                                                can learn more about reporting and enforcement, including
                                                how to appeal on the Troubleshooting page of our Help
                                                Center.


                                                Community Guidelines Strikes

                                                YouTube operates a system of “strikes” in respect of Content
                                                that violates the YouTube Community Guidelines. Each strike
                                                comes with varying restrictions and may result in the
                                                permanent removal of your channel from YouTube. A full
                                                description of how a strike affects your channel is available
                                                on the Community Guidelines Strikes Basics page. If you
                                                believe that a strike has been issued in error, you may appeal
                                                here.

                                                If your channel has been restricted due to a strike, you must
                                                not use another channel to circumvent these restrictions.
                                                Violation of this prohibition is a material breach of this
                                                Agreement and Google reserves the right to terminate your
                                                Google account or your access to all or part of the Service.

                                                Copyright Protection


                                                We provide information to help copyright holders manage
                                                their intellectual property online in our YouTube Copyright
                                                Center. If you believe your copyright has been infringed on the
                                                Service, please send us a notice.


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                                                We respond to notices of alleged copyright infringement
                                                according to the process in our YouTube Copyright Center,
                                                where you can also find information about how to resolve a
                                                copyright strike. YouTube's policies provide for the
                                                termination, in appropriate circumstances, of repeat
                                                infringers’ access to the Service.


                                                Account Suspension & Termination
                                                Terminations by You
                                                You may stop using the Service at any time. Follow these
                                                instructions to delete the Service from your Google Account,
                                                which involves closing your YouTube channel and removing
                                                your data. You also have the option to download a copy of
                                                your data first.

                                                Terminations and Suspensions by YouTube


                                                YouTube reserves the right to suspend or terminate your
                                                Google account or your access to all or part of the Service if
                                                (a) you materially or repeatedly breach this Agreement; (b) we
                                                are required to do so to comply with a legal requirement or a
                                                court order; or (c) we reasonably believe that there has been
                                                conduct that creates (or could create) liability or harm to any
                                                user, other third party, YouTube or our Affiliates.

                                                Notice for Termination or Suspension


                                                We will notify you with the reason for termination or
                                                suspension by YouTube unless we reasonably believe that to
                                                do so: (a) would violate the law or the direction of a legal
                                                enforcement authority; (b) would compromise an
                                                investigation; (c) would compromise the integrity, operation or
                                                security of the Service; or (d) would cause harm to any user,
                                                other third party, YouTube or our Affiliates.


                                                Effect of Account Suspension or Termination

                                                If your Google account is terminated or your access to the
                                                Service is restricted, you may continue using certain aspects

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                                                of the Service (such as viewing only) without an account, and
                                                this Agreement will continue to apply to such use. If you
                                                believe that the termination or suspension has been made in
                                                error, you can appeal using this form.


                                                About Software in the Service

                                                Downloadable Software
                                                When the Service requires or includes downloadable software
                                                (such as the YouTube Studio application), unless that
                                                software is governed by additional terms which provide a
                                                license, YouTube gives you a personal, worldwide, royalty-free,
                                                non-assignable and non-exclusive license to use the software
                                                provided to you by YouTube as part of the Service. This
                                                license is for the sole purpose of enabling you to use and
                                                enjoy the benefit of the Service as provided by YouTube, in the
                                                manner permitted by this Agreement. You are not allowed to
                                                copy, modify, distribute, sell, or lease any part of the software,
                                                or to reverse-engineer or attempt to extract the source code of
                                                that software, unless laws prohibit these restrictions or you
                                                have YouTube’s written permission.

                                                Open Source
                                                Some software used in our Service may be offered under an
                                                open source license that we make available to you. There may
                                                be provisions in an open source license that expressly
                                                override some of these terms, so please be sure to read those
                                                licenses.


                                                Other Legal Terms
                                                Warranty Disclaimer
                                                OTHER THAN AS EXPRESSLY STATED IN THIS AGREEMENT
                                                OR AS REQUIRED BY LAW, THE SERVICE IS PROVIDED “AS IS”
                                                AND YOUTUBE DOES NOT MAKE ANY SPECIFIC
                                                COMMITMENTS OR WARRANTIES ABOUT THE SERVICE. FOR
                                                EXAMPLE, WE DON’T MAKE ANY WARRANTIES ABOUT: (A)
                                                THE CONTENT PROVIDED THROUGH THE SERVICE; (B) THE
                                                SPECIFIC FEATURES OF THE SERVICE, OR ITS ACCURACY,
                                                RELIABILITY, AVAILABILITY, OR ABILITY TO MEET YOUR
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                                                NEEDS; OR (C) THAT ANY CONTENT YOU SUBMIT WILL BE
                                                ACCESSIBLE ON THE SERVICE.

                                                Limitation of Liability

                                                EXCEPT AS REQUIRED BY APPLICABLE LAW, YOUTUBE, ITS
                                                AFFILIATES, OFFICERS, DIRECTORS, EMPLOYEES
                                                AND AGENTS WILL NOT BE RESPONSIBLE FOR ANY LOSS OF
                                                PROFITS, REVENUES, BUSINESS OPPORTUNITIES,
                                                GOODWILL, OR ANTICIPATED SAVINGS; LOSS OR
                                                CORRUPTION OF DATA; INDIRECT OR CONSEQUENTIAL
                                                LOSS; PUNITIVE DAMAGES CAUSED BY:

                                                  1. ERRORS, MISTAKES, OR INACCURACIES ON THE
                                                     SERVICE;

                                                  2. PERSONAL INJURY OR PROPERTY DAMAGE RESULTING
                                                     FROM YOUR USE OF THE SERVICE;

                                                  3. ANY UNAUTHORIZED ACCESS TO OR USE OF THE
                                                     SERVICE;

                                                  4. ANY INTERRUPTION OR CESSATION OF THE SERVICE;

                                                  5. ANY VIRUSES OR MALICIOUS CODE TRANSMITTED TO
                                                     OR THROUGH THE SERVICE BY ANY THIRD PARTY;

                                                  6. ANY CONTENT WHETHER SUBMITTED BY A USER OR
                                                     YOUTUBE, INCLUDING YOUR USE OF CONTENT; AND/OR

                                                  7. THE REMOVAL OR UNAVAILABILITY OF ANY CONTENT.


                                                THIS PROVISION APPLIES TO ANY CLAIM, REGARDLESS OF
                                                WHETHER THE CLAIM ASSERTED IS BASED ON WARRANTY,
                                                CONTRACT, TORT, OR ANY OTHER LEGAL THEORY.

                                                YOUTUBE AND ITS AFFILIATES’ TOTAL LIABILITY FOR ANY
                                                CLAIMS ARISING FROM OR RELATING TO THE SERVICE IS
                                                LIMITED TO THE GREATER OF: (A) THE AMOUNT OF
                                                REVENUE THAT YOUTUBE HAS PAID TO YOU FROM YOUR
                                                USE OF THE SERVICE IN THE 12 MONTHS BEFORE THE DATE
                                                OF YOUR NOTICE, IN WRITING TO YOUTUBE, OF THE CLAIM;
                                                AND (B) USD $500.

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                                                Indemnity

                                                To the extent permitted by applicable law, you agree to defend,
                                                indemnify and hold harmless YouTube, its Affiliates, officers,
                                                directors, employees and agents, from and against any and all
                                                claims, damages, obligations, losses, liabilities, costs or debt,
                                                and expenses (including but not limited to attorney's fees)
                                                arising from: (i) your use of and access to the Service; (ii) your
                                                violation of any term of this Agreement; (iii) your violation of
                                                any third party right, including without limitation any copyright,
                                                property, or privacy right; or (iv) any claim that your Content
                                                caused damage to a third party. This defense and
                                                indemnification obligation will survive this Agreement and
                                                your use of the Service.

                                                Third-Party Links
                                                The Service may contain links to third-party websites and
                                                online services that are not owned or controlled by YouTube.
                                                YouTube has no control over, and assumes no responsibility
                                                for, such websites and online services. Be aware when you
                                                leave the Service; we suggest you read the terms and privacy
                                                policy of each third-party website and online service that you
                                                visit.


                                                About this Agreement
                                                Changing this Agreement
                                                We may change this Agreement, for example, (1) to reflect
                                                changes to our Service or how we do business - for example,
                                                when we add new products or features or remove old ones,
                                                (2) for legal, regulatory, or security reasons, or (3) to prevent
                                                abuse or harm.

                                                If we materially change this Agreement, we’ll provide you with
                                                reasonable advance notice and the opportunity to review the
                                                changes, except (1) when we launch a new product or feature,
                                                or (2) in urgent situations, such as preventing ongoing abuse
                                                or responding to legal requirements. If you don’t agree to the
                                                new terms, you should remove any Content you uploaded and
                                                stop using the Service.

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                                                Continuation of this Agreement
                                                If your use of the Service ends, the following terms of this
                                                Agreement will continue to apply to you: “Other Legal Terms”,
                                                “About This Agreement”, and the licenses granted by you will
                                                continue as described under “Duration of License”.

                                                Severance
                                                If it turns out that a particular term of this Agreement is not
                                                enforceable for any reason, this will not affect any other
                                                terms.

                                                No Waiver
                                                If you fail to comply with this Agreement and we do not take
                                                immediate action, this does not mean that we are giving up
                                                any rights that we may have (such as the right to take action
                                                in the future).


                                                Interpretation

                                                In these terms, “include” or “including” means “including but
                                                not limited to,” and any examples we give are for illustrative
                                                purposes.


                                                Governing Law
                                                All claims arising out of or relating to these terms or the
                                                Service will be governed by California law, except California’s
                                                conflict of laws rules, and will be litigated exclusively in the
                                                federal or state courts of Santa Clara County, California, USA.
                                                You and YouTube consent to personal jurisdiction in those
                                                courts.


                                                Limitation on Legal Action

                                                YOU AND YOUTUBE AGREE THAT ANY CAUSE OF ACTION
                                                ARISING OUT OF OR RELATED TO THE SERVICES MUST
                                                COMMENCE WITHIN ONE (1) YEAR AFTER THE CAUSE OF
                                                ACTION ACCRUES. OTHERWISE, SUCH CAUSE OF ACTION IS
                                                PERMANENTLY BARRED.

                                                Effective as of December 15, 2023 (view previous version)

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